    Case 24-10982-ABA         Doc 16     Filed 04/09/24 Entered 04/09/24 15:26:24              Desc Main
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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
      Caption in Compliance with D.N.J. LBR 9004-1
                                                                        Order Filed on April 9, 2024
      DENISE CARLON, ESQUIRE                                            by Clerk
      KML LAW GROUP, P.C.                                               U.S. Bankruptcy Court
                                                                        District of New Jersey
      701 Market Street, Suite 5000
      Philadelphia, PA 19106
      215-627-1322
      dcarlon@kmllawgroup.com
      Attorneys for Movant
      CMG Mortgage, Inc.
      In Re:                                                  Case No.: 24-10982 ABA

      Linda Ellen Feingold                                    Hearing Date: 4/10/2024

      Debtor                                                  Judge: Andrew B. Altenburg, Jr.


          ORDER RESOLVING SECURED CREDITOR’S OBJECTION TO DEBTOR’S
                              CHAPTER 13 PLAN

     The relief set forth on the following pages, numbered two (2) through two (2) is hereby
     ORDERED




DATED: April 9, 2024
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 Debtors:             Linda Ellen Feingold
 Case No.:            24-10982 ABA
 Caption:             ORDER RESOLVING SECURED CREDITOR’S OBJECTION TO
                      DEBTOR’S CHAPTER 13 PLAN

       This matter having been brought before the Court by KML Law Group, P.C., attorneys for
Secured Creditor, CMG Mortgage, Inc., holder of a mortgage on real property located at 206
Teaberry Dr, Cherry Hill, NJ, 08034, Denise Carlon appearing, by way of objection to the
confirmation of Debtor’s Chapter 13 Plan, and this Court having considered the representations of
attorneys for Secured Creditor and Joel R. Spivack, Esquire, attorney for Debtor, and for good
cause having been shown;
       It is FURTHER ORDERED, ADJUDGED and DECREED that Debtor shall pay the
arrearage claim of Secured Creditor in full, (Claim No. 9, Arrears: $3,555.01),through the Chapter
13 plan; and
       It is FURTHER ORDERED, ADJUDGED and DECREED that Debtor is to make post-
petition payments in accordance with the terms of the note, mortgage, and notices of payment
change; and
       It is FURTHER ORDERED, ADJUDGED and DECREED that Debtor reserves his
right to object to Secured Creditor’s proof of claim and notice of payment change; and
       It is FURTHER ORDERED, ADJUDGED and DECREED that Secured Creditor’s
objection to confirmation is hereby resolved.
